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 4
 5   Attorney for Defendant, ANTONIO BAROCIO-VALENCIA
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 7
 8           UNITED STATES DISTRICT COURT, EASTERN DISTRICT OF CALIFORNIA
 9                                           FRESNO DIVISION
10
11   UNITED STATES OF AMERICA,                      )        CASE NUMBER: 1:13-CR-00312
                                                    )
12                          Plaintiff,              )
                                                    )
13   v.                                             )        AMENDED STIPULATION AND
                                                    )        ORDER FOR RELEASE OF
14   ANTONIO BAROCIO-VALENCIA,                      )        PASSPORT
                                                    )
15                                                  )
                            Defendant.              )
16                                                  )
17          IT IS HEREBY STIPULATED, by and between the defendant ANTONIO BAROCIO-
18   VALENCIA by and through his attorney Salvatore Sciandra and the government by and through its
19   attorney Laurel J. Montoya, that this Court order that BAROCIO-VALENCIA’s Mexican Passport
20   #E10074359 filed with the Clerk of this Court on August 5, 2013 be released to Leticia Barocio
21   forthwith. The justification for this stipulation is that defendant ANTONIO BAROCIO-VALENCIA
22   will be taking his United States citizens examination on August 14, 2013 and he is required to present
23   his passport at the time of the examination. Laticia Barocio shall at all times maintain possession of
24   ANTONIO BAROCIO-VALENCIA’s passport and no later than August 15, 2013, send ANTONIO
25   BAROCIO-VALENCIA’s passport by United States mail to Salvatore Sciandra, counsel for
26   ANTONIO BAROCIO-VALENCIA.                 Mr. Sciandra will then file ANTONIO BAROCIO-
27   VALENCIA’s passport with the Clerk of this Court within 24 hours after it is received by him.
28   ///
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 1   DATED: August 9, 2013                                        /s/ Salvatore Sciandra
                                                                  SALVATORE SCIANDRA
 2                                                                Attorney for Defendant,
                                                                  ANTONIO BAROCIO-VALENCIA
 3
 4   DATED: August 9, 2013                                        /s/ Laurel J. Montoya
                                                                  LAUREL J. MONTOYA
 5                                                                Assistant U.S. Attorney
 6                                                                This was agreed to in court today.
 7
 8                                                  ORDER
 9            GOOD CAUSE APPEARING, and it having been stipulated to by and between the defendant
10   ANTONIO BAROCIO-VALENCIA by and through his attorney Salvatore Sciandra and the
11   government by and through its attorney AUSA Laurel J. Montoya, this Court orders that the Clerk of
12   the Court for the Eastern District of California, Fresno Division release forthwith to Leticia Barocio
13   defendant ANTONIO BAROCIO-VALENCIA’s Mexican Passport #E10074359 filed with the Clerk
14   of this Court on August 5, 2013.
15            IT IS FURTHER ORDERED THAT: Laticia Barocio shall at all times maintain possession
16   of ANTONIO BAROCIO-VALENCIA’s passport and no later than August 15, 2013 send ANTONIO
17   BAROCIO-VALENCIA’s passport by United States mail to Salvatore Sciandra, counsel for
18   ANTONIO BAROCIO-VALENCIA. Mr. Sciandra is ordered to then file ANTONIO BAROCIO-
19   VALENCIA’s passport with the Clerk of this Court within 24 hours after it is received by him.
20
21
22   IT IS SO ORDERED.
23   Dated:      August 9, 2013                         /s/ Sheila K. Oberto
     ie14hj                                     UNITED STATES MAGISTRATE JUDGE
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28
     U.S. v ANTONIO BAROCIO-VALENCIA
     STIPULATION AND [PROPOSED] ORDER FOR RELEASE OF PASSPORT
     CASE NUMBER: 1:13-CR-00312                                                                           2
